Case 2:04-Cr-20355-BBD Document 37 Filed 06/30/05 Page 1 of 2 Page|D 42

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IN THE UNITED STATES DISTRICT COURT

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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20355*D

JERRY GRANT
Defendant.

 

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This cause came to be heard on June 22, 2005, the United States
Attorney for this district, Katrina U. Earley, appearing for the Government
and the defendant, Jerry Grant, appearing in person and with counsel,
Needum Louis Germany, III, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count(s) l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this Case is SET for WEDNESDAY, SEPTEMBER 21, 2005, at
1:30 P.M., in Courtrocm No. 3, on the 9‘h floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the §§ day of June, 2005.

Qf

( RNIC'E B. DoNALD

ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20355 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

